
673 S.E.2d 363 (2009)
Donnie R. SPRINKLE, Employee
v.
LILLY INDUSTRIES, INC., Employer Liberty Mutual Insurance Company, Carrier.
No. 556P08.
Supreme Court of North Carolina.
February 5, 2009.
Daniel S. Walden, Winston-Salem, for Sprinkle.
Shannon Beach, Winston-Salem, for Lilly Industries.
Prior report: ___ N.C.App. ___, 668 S.E.2d 378.

ORDER
Upon consideration of the petition filed on the 19th day of December 2008 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 5th day of February 2009."
